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 1                                                       THE HONORABLE THOMAS S. ZILLY

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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8      BOARDS OF TRUSTEES OF THE
        LOCALS 302 AND 612 OF THE
 9      INTERNATIONAL UNION OF
        OPERATING ENGINEERS                            C21-584 TSZ
10      CONSTRUCTION INDUSTRY
        HEALTH AND SECURITY FUND, et
11      al.,                                           ORDER TO COMPEL PRODUCTION
                                                       OF EMPLOYMENT SECURITY
12                             Plaintiffs,             DEPARTMENT RECORDS
                  v.
13
        SEATTLE TOWER CRANE LLC, a
14      Washington limited liability corporation,
        Contractor’s License No. SEATTTC840J7,
15      UBI No. 603 547 456,

16                             Defendant.

17
                THIS MATTER, having come on regularly before this court upon motion of plaintiffs,
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      and this court having before it the declaration of counsel filed in support of this motion and
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      being otherwise duly advised in the premises,
20
                NOW, THEREFORE, it is ADJUDGED AND ORDERED as follows:
21

22


                                                                                BARLOW COUGHRAN
      ORDER TO COMPEL ESD RECORDS - 1                                       MORALES & JOSEPHSON, P.S.
      C21-584 TSZ                                                           1325 FOURTH AVE., SUITE 910
                                                                                 SEATTLE, WA 98101
                                                                                    (206) 224-9900
     5800 025 ei22c10160
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 1              1.         The production of records in the possession of the Washington State

 2    Employment Security Department regarding employees of Seattle Tower Crane for December

 3    2020 through present is necessary for the prosecution of plaintiffs’ case.

 4    2.        This necessity outweighs any interest in the confidentiality or privacy of this

 5    information of the individual employees if counsel for plaintiffs treats these records as

 6    confidential and discloses only such information as is necessary to prosecute this action.

 7              3.         Pursuant to RCW 50.13.070, the Washington State Employment Security

 8    Department is now ORDERED to produce copies of originals of all documents or records in its

 9    possession related to employee reports of Seattle Tower Crane at a mutually agreed time and

10    place between the Department and attorneys for the plaintiffs, within twenty (20) days of

11    the date of service of this Order upon the Department.

12

13              Dated this 24th day of September, 2021.

14

15
                                                  A
                                             THE HONORABLE THOMAS S. ZILLY
16                                           UNITED STATES DISTRICT JUDGE

17    Presented by:

18
       /s/ Noelle E. Dwarzski
19    Noelle E. Dwarzski, WSBA #40041
      BARLOW COUGHRAN
20    MORALES & JOSEPHSON, P.S.
      Attorneys for Plaintiffs
21

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                                                                                   BARLOW COUGHRAN
      ORDER TO COMPEL ESD RECORDS - 2                                          MORALES & JOSEPHSON, P.S.
      C21-584 TSZ                                                              1325 FOURTH AVE., SUITE 910
                                                                                    SEATTLE, WA 98101
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